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                      UNITED STATES COURT OF APPEALS                         FILED
                                FOR THE NINTH CIRCUIT                         JUN 2 2023
                                                                         MOLLY C. DWYER, CLERK
                                                                           U.S. COURT OF APPEALS
 In re: COUNTY OF LOS ANGELES.                     No.   23-70076
 ______________________________
                                                   D.C. No. 2:20-cv-02291-DOC-KES
 COUNTY OF LOS ANGELES,                            Central District of California,
                                                   Los Angeles
                  Petitioner,
                                                   ORDER
  v.

 UNITED STATES DISTRICT COURT
 FOR THE CENTRAL DISTRICT OF
 CALIFORNIA, LOS ANGELES,

                  Respondent,

 LA ALLIANCE FOR HUMAN RIGHTS;
 et al.,

                  Real Parties in Interest.

 Before: NGUYEN, FRIEDLAND, and SUNG, Circuit Judges.

       The petition for a writ of mandamus raises issues that warrant an answer.

 See Fed. R. App. p. 21(b). Accordingly, within 14 days after the date of this order,

 the real parties in interest shall file an answer. The district court, within 14 days

 after the date of this order, also shall address the petition. The district court may

 elect to file an answer with this court or to issue a supplemental order and serve a

 copy on this court. Petitioner may file a reply within 5 days after service of the

 answer(s).
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       The Clerk shall serve this order on the district court and District Judge David

 O. Carter.

       The request for a stay of proceedings in the district court, included in the

 mandamus petition, will be addressed in a separate order.




                                           2
